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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 JAVIER RODRIGUEZ,                                §
 and all others similarly situated under          §
 29 U.S.C. § 216(b),                              §
 Plaintiff,                                       §
                                                  §
 v.                                               §   Cause No. 3:18-CV-00088-E-BH
                                                  §
 TARLAND, L.L.C. and                              §
 THOMAS MCGILL,                                   §
 Defendants.                                      §


          PLAINTIFF’S EMERGENCY NOTICE OF UNAVAILABILITY
            AND REQUEST TO RESET PRETRIAL CONFERENCE

        COME(S) NOW, Plaintiff, by and through undersigned counsel, pursuant to the

 Federal Rules of Civil Procedure and state(s) as follows:

        1. The undersigned is set begin trial in the case of PORTILLO v. KINCAID

            INC., et al., Cause No. 3:18-cv-01759-C before the Honorable Judge Sam R.

            Cummings on 1/6/2020 at 9:00 a.m.

        2. The presence of Plaintiff’s attorney J.H. Zidell, Esq. is necessary at the

            Portillo trial, and representation by other counsel cannot be arranged as JH

            Zidell, Esq. is the only attorney at the undersigned firm.

        3. All remaining Defendants are in default posture and the undersigned requests

            that the court allow 10 days to file Motion for Default as to the remaining

            Defendants.

        4. Additionally, the undersigned requests the Pretrial Conference in this matter

            be reset to next week as to allow the completion of the trial commencing

            1/6/2020.
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        5. The undersigned sincerely apologizes to the court for the inadvertent

            scheduling error and last minute notice.



            WHEREFORE, the Plaintiff requests the Court to take notice of the afore-

            mentioned unavailability and reset the Pretrial Conference to next week.

                                              Respectfully submitted,

                                      By:     /s/ Jamie H. Zidell
                                              J H Zidell PC
                                              6310 LBJ Freeway
                                              Suite 112
                                              Dallas, TX 75240
                                              972-233-2264
                                              Fax: 972-386-7610
                                              Texas Bar No: 24071840
                                              Email: zabogado@aol.com


                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was on Defendants
 by service with First Class, as noted below, in accordance with the local rules of United
 States District Court for the Northern District of Texas, Dallas Division this 6th day of
 January 2020.


 Thomas McGill, PRO SE
 3852 Kimbrough Lane
 Plano, Texas 75025


                          CERTIFICATE OF CONFERRAL

        Defendants are not represented by counsel in this matter.


                                                       /s/ Jamie H. Zidell
                                                       Jamie H. Zidell
                                                       Counsel for the Plaintiff
